        Case 4:20-cv-00461-JTR Document 26 Filed 03/03/21 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

SHEQUITA L. JOINER                                              PETITIONER
ADC # 709661

v.                           No. 4:20-cv-00461-JTR

DEXTER PAYNE, Director,
Arkansas Division of Correction                               RESPONDENT


                                  JUDGMENT

      Consistent with the Memorandum and Order entered this day, the § 2254

Petition for Writ of Habeas Corpus filed by Shequita Joiner is DISMISSED, with

prejudice. Judgment is entered in favor of the Respondent.

      DATED this 3rd day of March, 2021.



                                      ____________________________________
                                      UNITED STATES MAGISTRATE JUDGE
